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                     Exhibit 1
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                                                                  U.S. Department of Justice

                                                                  Channing D. Phillips
                                                                  Acting United States Attorney

                                                                  District of Columbia


                                                                  Judiciary Center
                                                                  555 Fourth St., N.W.
                                                                  Washington, D.C. 20530


Via USAFx and email                                                     March 16, 2021

William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt


           Re:      United States v. Guy Reffitt, 21-cr-32 (DLF)
                    Discovery Letter #1

Dear Counsel:

       We are writing to provide you with certain information in response to your request for
discovery pursuant to Rule 16 of the Federal Rules of Criminal Procedure.

        The following materials, which have been uploaded to USAfx, are being produced pursuant
to our informal agreement – pending the entry of a formal protective order – that the materials will
only be used for your client’s defense, that you will not distribute or display the materials to
anyone, and that you will permit your client to review but not retain copies.

      1. FBI materials
            a. 2020-12-24 – Guardian lead (4 pgs)
            b. 2021-01-11 –                 interview (8 pgs)
                    i. Attachments:
                          1. 6 text message screenshots
                          2. 5 photos
                          3. 1 Snapchat video
                          4. 6 audio recordings 1
            c. 2021-01-16 – search warrant execution (3 pgs)
            d. 2021-01-16 –             interview (5 pgs)

1
    On March 10 and 13, 2021, we provided you with rough transcripts of these 6 audio recordings.


                                                    Page 1 of 4
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       e. 2021-01-16 –                interview (3 pgs)
       f. 2021-01-16 –                 interview (4 pgs)
       g. 2021-01-16 – Guy Reffitt interview (9 pgs)
             i. Attachment: Audio recording
       h. 2021-01-16 – Guy Reffitt interview re suppressor (2 pgs)
       i. 2021-01-25 –                interview (3 pgs)

2. Court filings
      a. 21-mj-66 (D.D.C.)
                i. Arrest warrant
               ii. Complaint
              iii. Affidavit
      b. 21-mj-91 (D.D.C.)
                i. Arrest warrant
               ii. Complaint
              iii. Affidavit
      c. 4:21-mj-36 (E.D. Tex.)
                i. Premises search warrant
      d. 4:21-mj-35 (E.D. Tex.)
                i. vehicle search warrant (plate HHF1249)
      e. 4:21-mj-34 (E.D. Tex.)
                i. vehicle search warrant (plate MKY6885)

3. Grand jury materials
      a.              transcript
      b.                 transcript

4. Jail calls
       a. 38 jail calls recorded between 2021-01-16 and 2021-01-26

5. Open source media
      a. 2020-10-17 – Texas Freedom Force
             i. https://www.txfreedomforce.org/titff-news/alamo-cenotaph-victory-rally-
                notoneinch6555863
      b. 2021-01-06 - The Ingraham Angle (host Laura Ingraham), at about 31:00 in the
         broadcast
             i. https://video.foxnews.com/v/6220908664001#sp=show-clips/full-episodes
      c. 2021-01-06 – Flickr (two photos)
             i. https://www.flickr.com/photos/wx412/50813869496/sizes/6k/




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                       ii. https://www.flickr.com/photos/49283984@N05/albums/72157713988863
                           981/with/50838553973/
               d.   2021-01-06 – Reuters
                        i. https://www.youtube.com/watch?v=KYCSjNh1FvA&list=PLZhRxE9191
                           zMYuqM0lM3hAgPa0CpYn-dH
               e.   2021-01-07 - Fox News at Night (anchor Shannon Bream), at about 1:00 in the
                    broadcast
                        i. https://video.foxnews.com/v/6221234520001#sp=show-clips
               f.   2021-01-18 – NBC5 Dallas-Forth Worth
                        i. https://www.nbcdfw.com/news/local/wylie-man-who-was-at-capitol-riot-
                           threatened-to-kill-his-family-fbi-says/2530571/
               g.   2021-01-20 -- NBC5 Dallas-Forth Worth
               h.   2021-01-22 – Cuomo Prime Time (CNN)
               i.   2021-01-24 – New York Times
                        i. https://www.nytimes.com/2021/01/24/us/politics/jackson-reffitt-father-
                           capitol-riot.html
               j.   2021-01-26 – Good Morning America

       6. Search warrant returns
             a. Devices
                     i. Spreadsheet of messages (in Excel and PDF) 2
                    ii. 36 screenshots of messages
                   iii. 1 screenshot of search history
             b. Facebook
                     i. PDF (1563 pages)
             c. Life360 3
                     i. 1 zip file containing 12 total Excel files

       7. Other records
             a. Metropolitan Police Department
                      i. PD 32 (Certificate of no record of registration)
                     ii. PD 36 (Certificate of no record of license)
             b. Melrose Hotel
                      i. Folio
             c. Texas Secretary of State
                      i. Corporate Records & Business Registrations: TTP Security Services LLC




2
    This spreadsheet was produced to you on March 14, 2021.
3
    Note that Life360 separately informed the government that the time stamps are in Pacific time.


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Please also note that on March 10, 2021, we provided you with a Jan. 26, 2021, email from the
government to Mr. Reffitt’s Texas counsel, which stated in substance:

   Please be aware of the following non-verbatim information regarding the statements that
   your client, Guy Reffitt, is alleged to have made to his son and daughter, in the presence of
   another man, on or around January 11, 2021, while inside his home in Wylie, Texas:

   1. Mr. Reffitt’s daughter stated to the government that she didn’t think her brother felt
      threatened by her father.
   2. Mr. Reffitt’s daughter stated to the government that she never felt threatened by her
      father, and that she did not think her father would harm her.
   3. Mr. Reffitt’s wife stated to the government that she did not believe Mr. Reffitt would act
      on his words.
   4. The other man who was present for the conversation stated to the government that he did
      not believe that either Mr. Reffitt’s son or daughter interpreted Mr. Reffitt’s words as a
      threat.
   5. Mr. Reffitt’s wife stated to the government that neither her son nor daughter felt
      threatened by Mr. Reffitt’s words.
   6. Mr. Reffitt’s wife stated to the government that Mr. Reffitt is “super passionate” and
      sometimes says things he does not mean.
   7. Mr. Reffitt’s son stated to the news media that he did not think his father would “actually
      do anything bad,” and that he did not think his father would hurt him or kill him.

   Please also be aware that, following Mr. Reffitt’s son’s new media appearances, Mr. Reffitt’s
   son created a GoFundMe page, and as of this writing has received pledges of at least
   $133,000.

***

Please feel free to contact us with any questions.

                                                     Sincerely,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                              By:    _/s/ Jeffrey Nestler    _
                                                     Jeffrey Nestler
                                                     Risa Berkower
                                                     Assistant United States Attorneys

Enclosures




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From:            Nestler, Jeffrey (USADC)
To:              wlw@wwelchattorney.com
Cc:              Berkower, Risa (USADC)
Subject:         US v Reffitt
Date:            Wednesday, March 10, 2021 11:49:08 AM
Attachments:     Detention Memo (002).docx
                 FW Transcripts.msg
                 FW Reffitt.msg


Bill: As discussed, attached is the draft detention memo that the Texas AUSA shared with Mr.
Reffitt’s AFPD in Texas. It was not filed. Also attached are two emails that the Texas AUSA sent to
the AFPD; one with five rough transcripts and one with a disclosure. On the transcript point, we
have since fine-tuned the transcripts, and we will get you updated versions in the near future.

Best,
Jeff

Jeffrey S. Nestler
Assistant United States Attorney
Email: Jeffrey.Nestler@usdoj.gov
Office: 202-252-7277
Cell: 202-815-8672
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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


Via USAFx and email                                            April 10, 2021

William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt


       Re:      United States v. Guy Reffitt, 21-cr-32 (DLF)
                Discovery Letter #2

Dear Counsel:

        We are writing to provide you with certain information in response to your request for
discovery pursuant to Rule 16 of the Federal Rules of Criminal Procedure. The following
materials, which have been uploaded to USAfx, are being produced pursuant to the April 1, 2021
Protective Order [Dkt. 16] in this case.

   1. FBI 302 documenting the arrest of Guy Reffitt, with photographs taken at booking (8
       pages)
   2. Open source media images (2 videos, 2 photographs)
   3. Guy Reffitt NCIC report
   4. FBI property receipt (2 pages)
   5. FBI evidence collection log (4 pages)
   6. FBI 1087-a evidence log (11 pages)
   7. FBI search warrant inventory (1 page)
   8. FBI 1057 documenting consent to search/seized firearms (3 pages)
   9. Signed consent to search firearms (3 pages)
   10. FBI 302 documenting Reffitt arrest warrant service (1 page)

        In addition, we would like to provide you with the following data, but will need a hard
drive from you in order to do so:

   1. A digital image copy of your client’s cell phone;
   2. Data obtained from a search warrant of your client’s Apple iCloud account;
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   3. A recorded Zoom video call in which your client was a participant.

      Please contact us so that we can facilitate an efficient way to get this data to you.

                                                     Sincerely,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                             By:     /s/ Risa Berkower      _
                                                     Jeffrey Nestler
                                                     Risa Berkower
                                                     Assistant United States Attorneys

Enclosures
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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


Via USAFx and email                                            April 26, 2021

William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt


       Re:      United States v. Guy Reffitt, 21-cr-32 (DLF)
                Discovery Letter #3

Dear Counsel:

The U.S. Capitol Police have arranged five dates for crime scene tours of the Capitol. The tour
dates and times are listed below:

   o   Monday, May 3rd at 9:00 a.m.
   o   Saturday, May 8th at 9:00 a.m.
   o   Sunday, May 9th at noon
   o   Monday, May 31st at 9:00 a.m.
   o   Saturday, June 5th at 5:00 p.m.

If you wish to participate in a tour, please email us and paralegal Mariela Andrade at
Mariela.Andrade@usdoj.gov, and provide the following information:
    o Names, phone numbers and email contact information for any counsel who will be
       participating in the tour.
    o Case(s), Case number(s), and AUSA assigned to each case.
    o Tour date selected.

The conditions of the U.S. Capitol Police for participating in the tour are as follows:
   o The tours are restricted to counsel. You may not bring any guests, including
      investigators or paralegals.
   o No cameras are permitted but if you would like photographs of specific areas, you will be
      able to submit your requests to the General Counsel for the U.S. Capitol Police after the
      tour.
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   o The tours will be led by officers and questions about the events of January 6 will not be
     permitted. If you have such questions, you may direct them to me.
   o If you drive there, you will need to find your own parking.

The tour will encompass the following areas of the Capitol:

   -   Speaker’s Lobby
   -   Speaker's Office
   -   House Chamber
   -   Senate Chamber
   -   Senate Gallery
   -   Statuary Hall
   -   Crypt
   -   West Front of Capitol
   -   East Front of Capitol
   -   East Grand staircase – Senate
   -   Rotunda including the East Front Lobby area and steps to the Crypt
   -   Rotunda West staircase to the Crypt / Rotunda Door exterior
   -   Upper West Terrace/ Upper West Terrace Door (interior and exterior)
   -   Lower West Terrace
   -   West Terrace Steps and staircase and wall
   -   Senate Wing Door
   -   Parliamentarian’s Office (and adjacent fire door)
   -   Lower West Terrace Door specifically (interior and exterior)
   -   Offices ST2 – ST10
   -   Exterior HT2M window
   -   S140 & S145
   -   North and South Doors of Capitol
   -   House Wing (near House Wing Door) and Hall of Columns
   -   Memorial Door and interior steps to Second Floor adjacent to Memorial Door
   -   Capitol Visitors Center (main level and Emancipation Hall)
   -   Area of the House Majority Leader’s Office (Hoyer)

Maps of the grounds and floor plans are attached to assist you.

We look forward to hearing from you.

                                                    Sincerely,

                                                    CHANNING D. PHILLIPS
                                                    Acting United States Attorney

                                             By:    /s/ Jeffrey Nestler    _
                                                    Jeffrey Nestler
                                                    Risa Berkower
                                                    Assistant United States Attorneys

Enclosures
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From:                 Nestler, Jeffrey (USADC)
To:                   wlw wwelchattorney.com
Cc:                   Berkower, Risa (USADC)
Subject:              US v Reffitt - Discovery materials
Date:                 Wednesday, April 28, 2021 5:58:55 PM
Attachments:          USCP              FD-302 Redacted.pdf
                      US Capitol Police Sgt.             FD-302 Redacted.pdf
                      image001.png


Bill,

We just filed our opposition to your renewed bond motion. The pleading references three
categories of new information:

        1. Publicly available videos. You can follow the hyperlinks in the pleading itself to access the
           videos.
        2. Interviews with USCP officers. Attached please find two FBI 302s.
        3. Zoom recording. It is being disclosed to you on the external hard drive you provided.

The external hard drive is ready for you to pick up. Do you want us to leave it for you in the USAO
mail room at 555 Fourth Street, or get it to you some other way? The hard drive includes:

        1. 3 Cellebrite files – 1B4, 1B5, 1B15
        2. Search Warrant Photo logs – hard copy logs
        3. DVD – SW photos
        4. DVD – Trooper Arrest videos
        5. DVD – Zoom call

This is a screenshot of the folder structure:




Password for the hard drive is:

Please let us know if you have any questions.

Best,
Jeff

Jeffrey S. Nestler
Assistant United States Attorney
      Case 1:21-cr-00032-DLF Document 45-1 Filed 10/15/21 Page 12 of 35


555 Fourth Street NW, Washington, DC 20530
Email: Jeffrey.Nestler@usdoj.gov
Office: 202-252-7277
Cell: 202-815-8672
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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


Via email                                            July 9, 2021

William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt


       Re:      United States v. Guy Reffitt, 21-cr-32 (DLF)
                Discovery Letter # 4

Dear Counsel:

        We are writing to provide you with certain information in response to your request for
discovery pursuant to Rule 16 of the Federal Rules of Criminal Procedure. The following materials
from the FBI’s file for this case, which have been uploaded to USAfx, are being produced pursuant
to the April 1, 2021 Protective Order [Dkt. 16]. As noted, several of these documents are labeled
“sensitive” under the terms of the Protective order.

   1. FBI Serial 1; sensitive
   2. FBI Serial 2
   3. FBI Serial 3; sensitive
   4. FBI Serial 4; sensitive
   5. FBI Serial 6
   6. FBI Serial 7; sensitive
   7. FBI Serial 8- GJ; sensitive
   8. FBI Serial 8; sensitive
   9. FBI Serial 9
   10. FBI Serial 10
   11. FBI Serial 13
   12. FBI Serial 16
   13. FBI Serial 18
   14. FBI Serial 20
   15. FBI Serial 22
   16. FBI Serial 23
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17. FBI Serial 25
18. FBI Serial 26
19. FBI Serial 28
20. FBI Serial 29
21. FBI Serial 34
22. FBI Serial 35
23. FBI Serial 36
24. FBI Serial 41
25. FBI Serial 43
26. FBI Serial 45
27. FBI Serial 47
28. FBI Serial 52
29. FBI Serial 53
30. FBI Serial 56
31. FBI Serial 59
32. FBI Serial 60
33. FBI Serial 61
34. FBI Serial 63
35. FBI Serial 65
36. FBI Serial 68
37. FBI Serial 72
38. FBI Serial 73
39. FBI Serial 74
40. FBI Serial 75
41. FBI Serial 76
42. Discovery Reffitt Time stamp.pdf
43. Discovery Reffitt WFO.pdf; sensitive
44. Discovery Reffitt FD-674.pdf
45. Discovery Reffitt Search Warrant.pdf; sensitive
46. Discovery Reffitt Evidence Log.pdf
47. Discovery Reffitt FD-886.pdf
48. Discovery Reffitt MXU.pdf; sensitive

   Please let us know if you have any questions or concerns.

                                                Sincerely,

                                                CHANNING D. PHILLIPS
                                                Acting United States Attorney

                                        By:     /s/ Risa Berkower      _
                                                Risa Berkower
                                                Jeffrey Nestler
                                                Assistant United States Attorneys
       Case 1:21-cr-00032-DLF Document 45-1 Filed 10/15/21 Page 15 of 35

                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    July 19, 2021


By e-mail
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

                                       Re:   United States v. Guy Reffitt, 21-cr-32 (DLF)
                                             Capitol Tour
                                             Discovery Letter #5

Dear Defense Counsel:

The U.S. Capitol Police have arranged one new date for a crime scene walkthrough of the
Capitol. The tour date and time is Saturday, August 14, 2021, at 1:00 p.m., and the tour will
last approximately two hours. If you cannot attend on August 14, please be advised that
additional dates will be scheduled in the future.

If you wish to participate in the August 14 walkthrough, please email us and paralegal Mariela
Andrade at Mariela.Andrade@usdoj.gov, and provide the following information:
    o Names, phone numbers and email contact information for any counsel or investigators
       who will be participating in the tour.
    o Case(s), Case number(s), and AUSA assigned to each case.

The conditions of the U.S. Capitol Police for participating in the walkthrough are as follows:
   o The tours are restricted to counsel and one investigator. You may not bring any other
       guests. A paralegal or legal assistant may function as an investigator for this purpose.
   o The public/non-public areas are identified on the attached list. Photos are only allowed in
       the public areas. Any person who takes photos in the non-public areas will be asked to
       leave the tour and be banned from further tours.
   o The tours will be led by officers and questions about the events of January 6 will not be
       permitted. If you have such questions, you may direct them to me.
   o Masks must be worn at all times.




                                                1
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With respect to transportation, please be advised that there is no parking provided. The closest
metro stop is Capitol South (Blue/Orange line).

I look forward to hearing from you.

                                             Sincerely,

                                             CHANNING PHILLIPS
                                             Acting United States Attorney


                                      By:    /s/ Jeffrey Nestler    _
                                             Jeffrey Nestler
                                             Risa Berkower
                                             Assistant United States Attorneys




                                                 2
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         Defense Counsel Capitol Walkthrough Locations

-    Speaker’s Lobby – non-public
-    Speaker's Office – non-public
-    House Chamber – non-public
-    Senate Chamber – non-public
-    Senate Gallery – non-public
-    Statuary Hall – public
-    Crypt – public
-    West Front of Capitol – public
-    East Front of Capitol – public
-    East Grand staircase – Senate –public
-    Rotunda including the East Front Lobby area and steps to the Crypt – public
-    Rotunda West staircase to the Crypt – public
-    Rotunda Door exterior – non-public
-    Upper West Terrace/ Upper West Terrace Door (interior and exterior) – non-public
-    Lower West Terrace – non-public
-    West Terrace Steps and staircase and wall – non-public
-    Senate Wing Door – non-public
-    Parliamentarian’s Office (and adjacent fire door) – non-public
-    Lower West Terrace Door specifically (interior and exterior) – non-public
-    Offices ST2 – ST10 – non-public
-    Exterior HT2M window – non-public
-    S140 & S145 – non-public
-    North and South Doors of Capitol – public
-    House Wing (near House Wing Door) and Hall of Columns – public
-    Memorial Door and interior steps to Second Floor adjacent to Memorial Door – non-
     public
-    Capitol Visitors Center (main level and Emancipation Hall) – public
-    Area of the House Majority Leader’s Office (Hoyer) – non-public




                                            3
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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530


                                                    August 9, 2021


By e-mail and FedEx
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

                                       Re:   United States v. Guy Reffitt, 21-cr-32 (DLF)
                                             Discovery Letter #6

Dear Mr. Welch:

       We write for two reasons, to provide discovery and to make a demand under Rule
12.3(a)(1).

       Discovery

       Enclosed please find an external hard drive containing the following data:

          1. Raw extractions of data from your client’s devices:
                 a. 1B4
                 b. 1B5
                 c. 1B8
                 d. 1B9_blk_cruzer
                 e. 1B9_blkSD_1
                 f. 1B9_blkSD_2
                 g. 1B9_redSD
                 h. 1B9_slv_verbatim
                 i. 1B12
                 j. 1B15
                 k. 1B17
                 l. 1B18
                 m. 1B20_Seagate
                 n. 1B22_SD
          2. Jail calls
                                             1
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        a. 116 audio files, from 3/3/21 to 5/13/21
        b. Message report from 3/3/21 to 5/13/21 (32 pages)
        c. Attempted call report (10 pages)
        d. Completed call report (14 pages)
        e. Subpoena receipt
  3. Videos recovered from the cell phone of defendant C.U.
        a. 12 video files, IMG_0185 to _0196
  4. Processed data from search warrant returns from:
        a. Microsoft
        b. Apple
  5. Discovery materials from FBI Dallas:
        a. Jail calls provided 1-27-21
                 i. 38 audio files; index; player
        b.                   cell recordings on or about 1-8-21
                 i. 6 audio files
        c. Recorded interview of                        , on 3-1-21
                 i. 1 audio file; player
        d. Recorded interview of Guy Reffit on 1-16-21
                 i. 1 audio file
        e. Reffitt videos 1A1; serial 3; serial 72
                 i. 1 video file
                ii. 1 zip file
                        1. iPad (1B5)
                                a. 1 XLSX file
                        2. iPhone 12 (1B4)
                                a. Chats
                                         i. 94 files
                                b. Contacts
                                         i. 1 XLSX file
                        3. iPhone 8 (1B15)
                                a. Chats
                                         i. 22 files
                                b. Contacts
                                         i. 1 XLSX file
                                c. Emails
                                         i. 5 files
                                d. Images
                                         i. 2 files
                        4. Seagate External HD (1B20)
                                a. 3 video files
        f. Reffitt discovery disc_digital 1 of 2
                 i. 1A1_cellphone video
                        1. 1 video file
                ii. 1A25_jail calls Guy Reffitt
                        1. 38 audio files; index; player
               iii. 1B34_six recordings
                        1. 6 audio files
               iv. 1D1_Interview Guy Reffitt 1_16_21
                        1. 1 audio file
                                       2
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                         v. 1D2_interview of
                                 1. 1 audio file
                        vi. Serial 42_1B35_DPS Interview Guy Reffitt
                                 1. 7 video files
                       vii. Serial 57_1D4_Recorded interview 3_1_21
                                 1. 1 audio file
                      viii. Serial 72_video
                                 1. 1 zip file
                                         a. iPad (1B5)
                                                 i. 1 XLSX file
                                         b. iPhone 12 (1B4)
                                                 i. Chats
                                                         1. 94 files
                                                ii. Contacts
                                                         1. 1 XLSX file
                                         c. iPhone 8 (1B15)
                                                 i. Chats
                                                         1. 22 files
                                                ii. Contacts
                                                         1. 1 XLSX file
                                               iii. Emails
                                                         1. 5 files
                                               iv. Images
                                                         1. 2 files
                                         d. Seagate External HD (1B20)
                                                 i. 3 video files
                        ix. Serial 73_1A46_YouTube Video Confrontation
                                 1. 1 video file
                 g. Reffitt discovery disc_digital 2 of 2
                          i. Serial 76_1A49_YouTube video 1_6_21
                                 1. 1 video file
                 h. TX DPS – Guy Reffitt video 1-16-21
                          i. 7 video files
                 i. YouTube video (Police battle Trump supporters)
                          i. 22 minutes
                 j. YouTube video (Trump supporters storm Capitol building)
                          i. 25 minutes
           6. Grand jury materials 1
                 a.                                (1/27/21)
                          i. Ex. 1 – affidavit
                 b.                            (1/27/21)
                          i. Ex. 2 – Reuters photo
                         ii. Ex. 3 – Fox News photo
                        iii. Ex. 4 – Reuters photo
                        iv. Ex. 5 –               transcript

       1
        Please note that the grand jury materials are being produced as “sensitive” pursuant to
the Court’s April 1, 2021, protective order (ECF 16).

                                                3
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                             Sincerely,

                             CHANNING PHILLIPS
                             Acting United States Attorney


                       By:   /s/ Jeffrey Nestler    _
                             Jeffrey Nestler
                             Risa Berkower
                             Assistant United States Attorneys




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        As part of our ongoing discovery production in this case, you will receive an invitation
via USAFx to download reports from U.S. Capitol Police (USCP) investigations of alleged
wrongdoing by USCP officers on January 6, 2021. (Please note that this is a separate USAFx
folder than the one we have used for other productions in this case.) Officer names, witness
names, and complainant names have been redacted. We are working to produce a set of reports
that replaces the redactions with unique identifiers for individuals whose names have been
redacted. When that process is complete, we will reproduce the documents with the unique
identifiers. Additional exhibits from these investigations are forthcoming. At this time, we
understand that a small number of investigations are still on-going, and we will provide reports
of those investigations on a rolling basis as they are concluded.

       If you find an officer’s name that is not redacted, and that officer is a subject of or
witness to the allegation of misconduct, we are designating that information highly sensitive
under the protective order. That means you cannot share it with your client unsupervised unless
you redact it. If you have shared the name with your client already, please tell him that the
information can only be used consistent with the protective order’s rules for handling sensitive
materials.

                    Hard Drive Production via FedEx on September 8, 2021

   On September 8, 2021, we sent you via FedEx a hard drive that contains the following
materials, some of which are “sensitive”:

   A. Data seized by the FBI during the execution of search warrants, all of which is
      “sensitive,” in a folder labeled “                .CART”:
         1. QSA1 Kingston Flash Drive
         2. QSA2 San Disk SD Card
         3. QSA5 SanDisk 64GB Flash Drive
         4. QSA6 Kingston 128GB Micro SD
         5. QSA7 Maxtor 1TB External HDD
         6. QSA8 Dell Laptop P69G
         7. QSA11 LG Phone

   B. Materials from the FBI’s files:

    1.                      0000001.pdf                                     Sensitive
    2.                      0000002.pdf
    3.                      0000002 1A0000001 0000001.zip
    4.                      0000002 1A0000001 0000002.zip
    5.                      0000002 1A0000002 photos and videos
    6.                      0000002 1A0000003 0000001.zip
    7.                      0000003.pdf
    8.                      0000004.pdf
    9.                      0000004 1A0000006 0000001.jpg
    10.                     0000004 1A0000006 0000002.jpg
    11.                     0000004 1A0000006 0000003.jpg
    12.                     0000004 1A0000006 0000004.jpg
                                                2
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                                                      U.S. Department of Justice

                                                      Channing D. Phillips
                                                      Acting United States Attorney

                                                      District of Columbia


                                                      Judiciary Center
                                                      555 Fourth St., N.W.
                                                      Washington, D.C. 20530

                                                    September 28, 2021

By Electronic Mail
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

                                       Re:   United States v. Guy Reffitt, 21-cr-32 (DLF)
                                             Discovery Letter #9

Dear Counsel:

       As part of our ongoing discovery production in this case, we produced the following
information:


           1. On September 24, 2021: 4,044 files (over one terabyte) consisting of U.S. Capitol
              Police (“USCP”) Closed Circuit Video (“CCV”) footage from 118 cameras has
              been shared to the defense instance of evidence.com. The contents of footage
              being shared includes video from the interior of the U.S. Capitol Visitor Center
              and from the Capitol grounds. These files are designated Sensitive under the
              protective order. Additional footage will be provided on a rolling basis, as we
              ingest it into our own instance of evidence.com.

           2. On September 28, 2021: Twenty files that are exhibits to previously produced
              USCP OPR reports, and a corresponding index, have been shared via USAfx and
              you should have received a notification via email. Any applicable sensitivity
              designations are reflected in the index. Additional exhibits will be provided on a
              rolling basis as we continue to ingest and quality-check them.

           3. On September 28, 2021: Forty-two files that consist of MPD internal investigation
              reports and exhibits, and a corresponding index, have been shared via a second,
              separate USAfx production, and you should have received a notification via
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               email. These reports and exhibits are unredacted and thus designated Highly
               Sensitive under the protective order.

        The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as
the Discovery Liaison for defense counsel in Capitol Breach cases. FPD is currently reviewing
the various features of evidence.com and testing out the capabilities of the program with sample
data. Within the next two weeks, FPD will be sending out information to defense counsel that
includes a point-of-contact for discovery-related inquiries, the procedures to follow for obtaining
a license to access evidence.com, and a quick start guide for defense counsel to use with
evidence.com.

        It has come to our attention that there are sensitivities that must be addressed prior to
large scale disclosure of body-worn-camera footage. We are working diligently to resolve these
issues and in the interim we have produced a sample of fifty body-worn-camera files to FPD’s
instance of evidence.com. This sample will allow our technological teams to discuss the
necessary infrastructure and workflows that need to be implemented. Ultimately, we intend to
produce the majority of body-worn-camera footage with the least restrictive applicable
sensitivity designations, if any, in order to facilitate defendant review.

      In the near future, we expect to provide tools that will assist your review of the
voluminous video footage described above, to include:

       1. Camera maps for USCP CCV;
       2. Our work product, consisting of a spreadsheet and related zone maps, identifying
          body-worn-camera footage by agency, officer, video start time, a summary of events,
          and location of the camera in 15-minute increments; and
       3. Global Positioning Satellite information for Metropolitan Police Department radios,
          which may be of some assistance in identifying officers whose body-worn-cameras
          were recording at a particular time and location.

        I will forward additional discovery as it becomes available. If you have any questions or
if you fail to receive two separate USAfx invitations in connection with this production, please
feel free to contact me.

                                                     Sincerely,


                                                     /s/ Risa Berkower
                                                     Risa Berkower
                                                     Jeffrey Nestler
                                                     Assistant United States Attorneys




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                                                        U.S. Department of Justice

                                                        Channing D. Phillips
                                                        Acting United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530

                                                      October 5, 2021

By Electronic Mail
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

       Re:      United States v. Guy Reffitt, 21-cr-32-DLF
                Discovery Letter # 10

Dear Counsel:

       On October 1, 2021, as part of our ongoing discovery production in this case, we
produced the following information:

             1. 11,176 files (over 3 terabytes) consisting of U.S. Capitol Police Closed Circuit
                Video footage from 339 cameras were shared to the defense instance of
                evidence.com. The contents of footage shared includes video from the interior of
                the U.S. Capitol Visitor Center and from the Capitol grounds. These files are
                designated Sensitive (not Highly Sensitive) under the protective order.

             2. 1,676 files consisting of District of Columbia Metropolitan Police Department
                body-worn-camera footage recorded between approximately 1:00 p.m. and 6:00
                p.m. on January 6, 2021, were shared to the defense instance of evidence.com.
                We have not designated these materials as either Sensitive or Highly Sensitive
                under the protective order. Nevertheless, to the extent you intend to disseminate
                these materials to any persons other than Defendant, the legal defense team, or the
                person to whom the footage solely and directly pertains or his/her counsel, please
                ensure that you have reviewed the footage first and do not disseminate further any
                footage: (1) in which an individual provides or displays personal identifying
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               information 1 or (2) depicting personal information that may be highly
               embarrassing to either the officer wearing the camera or a person depicted in the
               footage. 2 Such information is Sensitive under the protective order. Should you
               observe such information, please notify us so that we may make an appropriate
               designation known to all Capitol Breach defendants.

        Based on discussions with the Federal Public Defender for the District of Columbia
(“FPD”), within approximately the next week, FPD will be sending out information to defense
counsel that includes a point-of-contact for discovery-related inquiries, the procedures to follow
for obtaining a license to access evidence.com, and a quick start guide for defense counsel to use
with evidence.com.

       I will forward additional discovery as it becomes available.

                                                     Sincerely,


                                                     /s/_____________
                                                     Jeffrey Nestler
                                                     Risa Berkower
                                                     Assistant United States Attorneys




1
  Personal identifying information includes civilian names and nicknames, and all social security
numbers, driver’s license numbers, physical addresses, e-mail addresses, any other contact
information, financial information, medical information, and mental health history information.

2
 For example, while we believe we have already identified and segregated such footage, we are
aware of instances where an officer may have forgotten to turn off his or her body-worn-camera
while using a restroom.
                                               2
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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                    October 7, 2021

By Electronic Mail and USAFx
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

       Re:      United States v. Guy Reffitt, 21-cr-32-DLF
                Discovery Letter # 11

Dear Counsel:

        We have uploaded additional discovery materials to USAFx. This includes the following
folders:

   (1) FBI agent Notes (6 files);
   (2) FBI materials concerning the device examinations in this case (15 files);
   (3) Cell phone records for T-Mobile cell phone number                 ;
   (4) FBI and ATF materials concerning a device found during the search of your client’s
       residence (2 files);
   (5) Search warrants executed in this case (6 files)—marked “sensitive” under the protective
       order governing discovery in this case;
   (6) A folder of additional FBI serials, including:
           a. FBI document relating to a public tip concerning your client (1 file);
           b. FBI document concerning information obtained from Paypal (1 file);
           c. A 302 (dated 1/16/21) documenting an interview with                      , which
              we believe was previously produced to you, but we are re-producing out of an
              abundance of caution; (1 file)
           d. Recent FBI serials created in connection with the ongoing investigation of this
              case (2 files).
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Please contact us with any questions or concerns.

                                            Sincerely,


                                            /s/
                                            Jeffrey Nestler
                                            Risa Berkower
                                            Assistant United States Attorneys




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                                                       U.S. Department of Justice

                                                       Channing D. Phillips
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530

                                                    October 14, 2021

By Electronic Mail and USAFx
William L. Welch, III, Esq.
5305 Village Center Drive, Suite 142
Columbia, Maryland 21044
Attorney for Defendant Reffitt

       Re:      United States v. Guy Reffitt, 21-cr-32-DLF
                Discovery Letter # 12

Dear Counsel:

       We have uploaded additional discovery materials to USAFx:

   (1) Grand jury subpoena returns from the following sources:
           a. Apple
           b. AT&T (two sets of phone records)
           c. Endurance
           d. Equifax
           e. Experian
           f. Facebook (three folders containing returns)
           g. GoFundMe
           h. Google (two folders containing returns)
           i. Microsoft
           j. Parler (two folders containing returns)
           k. Transunion
   (2) An email from a U.S. Capitol Police officer concerning January 6, 2021 (1 file);
   (3) A tip received by the FBI concerning Mr. Reffitt (1 file).
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Please contact us with any questions or concerns.

                                            Sincerely,


                                            /s/_____________
                                            Jeffrey Nestler
                                            Risa Berkower
                                            Assistant United States Attorneys




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